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James D. Weinberger (jweinberger@fzlz.com)
Kimberly B. Frumkin (kfrumkin@fzlz.com)
Andrew Nietes (anietes@fzlz.com)
FROSS ZELNICK LEHRMAN & ZISSU, P.C.
151 West 42nd Street, 17th Floor
New York, New York 10036
(212) 813-5900

Counsel for Defendant Warner Bros. Entertainment Inc.
 and Third-Party Plaintiff DC Comics

                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF NEW YORK


 CHRISTOPHER WOZNIAK,
                                                           Civil Action No. 22-cv-08969 (PAE)
                            Plaintiff,

                              v.                           DECLARATION OF JAY KOGAN
                                                           IN SUPPORT OF WARNER BROS.
 WARNER BROS. ENTERTAINMENT INC.,                          ENTERTAINMENT INC. AND DC
                                                           COMICS’ MOTION FOR SUMMARY
                            Defendant.                     JUDGMENT


 DC COMICS,

                            Third-Party Plaintiff,

 v.

 CHRISTOPHER WOZNIAK,

                            Third-Party Defendant.


            I, Jay Kogan, declare as follows:

            1.       I am Senior Vice President, Legal at DC Comics, the Third-Party Plaintiff in this

suit. I submit this declaration based upon my personal knowledge and/or my review of business

records of DC Comics in support of Warner Bros. Entertainment Inc. (“Warner Bros.”) and DC

Comics’ Motion for Summary Judgment.



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            2.       I have been in-house counsel for DC Comics since 1991. Throughout my time

employed by DC Comics, I have provided business and legal advice on many aspects of the

business including but not limited to oversight of contracts, registration of copyrights, and

licensing of DC Comics’ intellectual property.

            3.       The purpose of this declaration is to provide facts relating to certain claims and

defenses alleged by the parties in this action.

            4.       DC Comics owns many thousands of registrations for Batman works. True and

correct copies of a representative sample of those registrations, secured from 1941-1999, are

attached hereto as Exhibits A-L. Because some of these registrations are decades old, they list

DC Comics’ predecessors-in-interest (including DC Comics Inc., Detective Comics Inc.,

National Periodical Publications, Inc., and National Comics Publications, Inc.) as owners of the

copyright, but DC Comics now owns all rights in these registrations along with thousands more.

            5.       DC Comics licenses the rights to create motion pictures based on Batman

characters and story elements to Warner Bros. and its subsidiary companies, including for the

motion picture The Batman released by Warner Bros. in 2022.

            6.       Plaintiff Christopher Wozniak worked as a freelance artist who did both inking

and penciling work for several years in the late 1980s and early 1990s. DC Comics’ practice was

and is to require any freelancer to enter into an agreement with respect to each discrete project he

or she works on.

            7.       Attached as Exhibit M is a true and correct copy of the September 20, 1991

agreement between Mr. Wozniak and DC Comics in which he was paid to do artwork on an issue

of Dark Knight, a Batman title.




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                 8.     Attached as Exhibit N is a true and correct copy of the December 2. 1992

agreement between Mr. Wozniak and DC Comics in which he was paid to do artwork on an issue

of JLI Quarterly, a Justice League title. Batman is among the members of the Justice League.

                 9.     DC Comics searched its records and found no copies of any story written by Mr.

Wozniak. Other than through this lawsuit. neither I nor any of DC Comics' current executives

have any knowledge of any story written by Mr. Wozniak.

                 10.    DC Comics never provided consent - written or otherwise - for Mr. Wozniak to

create or publish any story using characters and story elements from Batman's universe.

                ! I.    While DC Comics generally dues not pursue copyright claims against, individuals

who submit stories for publication featuring our characters, it does pursue such claims when the

Writer          seeks to exploit any unlicensed story commercially or asserts ownership.

                1 declare under penalty of perjury that the foregoing is true and correct.

                Executed on thistVlaay of November 2023 in Burbank. California.


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